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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

    FOURTEENTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. FOR
        ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
            CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                   APRIL 1, 2024 THROUGH MAY 31, 2024

    Name of Applicant:             Crowe & Dunlevy, P.C.
    Applicant’s Role in Case:      Co-Counsel to Debtor
    Date Order of Appointment January 20, 2023 (Dkt #104)
    Signed:
                                       Beginning of Period           End of Period
    Time Period Covered in         04/01/2024                 05/31/2024
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $339,789.601
                                                              (80% of $424,737.00)
    Total Reimbursable Expenses Requested in this Statement: $16,083.622
               Summary Attorney Fees for the Period Covered by this Statement
    Attorneys Fees in this Statement:                         $413,631.50
    Total Actual Attorneys Hours Covered by this Statement: 647.80
    Average Hourly Rate for Attorneys:                        $648.35
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:        $11,105.50
    Total Actual Paraprofessional Hours Covered by this 38.9
    Statement:
    Average Hourly Rate for Paraprofessionals:                $285.48




1
  Counsel is holding $0.00 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.

FOURTEENTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 1
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            In accordance with the Order Granting Motion for Entry of an Order
            Establishing Procedures for Interim Compensation and Reimbursement
            of Expenses for Chapter 11 Professionals [Docket No. #106], each party
            receiving notice of the monthly fee statement will have 14 days after
            service of the monthly fee statement to object to the requested fees and
            expenses. Upon the expiration of such 14 day period, the Debtor is
            authorized to pay the Professional an amount of 80% of the fees and
            100% of the expenses requested in the applicable monthly fee
            statement.

       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], Crowe & Dunlevy, P.C. (“C&D”), as co-counsel to the

Debtor, hereby files its Fourteenth Monthly Fee Statement of Crowe & Dunlevy, P.C. for

Allowance of Compensation for Services Rendered as Co-Counsel to the Debtor for the Period

from April 1, 2024 through May 31, 2024 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

C&D seeks interim payment of $339,789.60 (80% of $424,737.00) as compensation for

professional services rendered to the Debtor during the period from April 1, 2024 through May 31,

2024 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount of

$16,083.62, for a total amount of $355,873.22 to be paid upon expiration of the objection deadline

barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, C&D submits a Summary of Expenses for

the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category as Counsel


FOURTEENTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 2
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for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Co-Counsel for the

Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),

and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                       avi.moshenberg@Imbusinesslaw.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.




FOURTEENTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 3
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In light of the nature of the relief requested herein, C&D submits that no further or other notice is

required.

          4.    Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. C&D reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein.

Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code, the

Bankruptcy Rules, and the Interim Compensation Order.

          5.    Therefore, C&D respectfully submits support for its fees in the amount of

$424,737.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $16,083.62 for reasonable, actual and necessary expenses incurred

during the Fee Period. C&D further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to C&D the amount of $355,873.22 which

is equal to the sum of 80% of C&D’s fees and 100% of C&D’s expenses incurred during the Fee

Period.




FOURTEENTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 4
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Houston, TX
Dated: May 31, 2024

                                         CROWE & DUNLEVY, P.C.

                                         By: /s/ Christina W. Stephenson
                                         Vickie L. Driver
                                         State Bar No. 24026886
                                         Christina W. Stephenson
                                         State Bar No. 24049535
                                         2525 McKinnon St., Suite 425
                                         Dallas, TX 75201
                                         Telephone: 737.218.6187
                                         Email: dallaseservice@crowedunlevy.com

                                         ATTORNEYS FOR DEBTOR ALEXANDER
                                         E. JONES




FOURTEENTH MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 5
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                                CERTIFICATE OF SERVICE

       I certify that on May 31, 2024, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                      avi.moshenberg@Imbusinesslaw.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                              /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                 EXHIBIT “A”
                 SUMMARY OF EXPENSES FOR THE FEE PERIOD


                             EXPENSE                           TOTAL
Online Research                                                 122.40
Lodging/Travel/Meals                                           6,412.00
Litigation Support Vendors                                     9,456.00
Outside Printing                                                 93.02




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                                     EXHIBIT “B”
          SUMMARY OF LEGAL FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD

CATEGORIES                                ATTORNEY TIME   PARALEGAL TIME

B110 Case Administration                       222.4             19.6
B120 Asset Analysis and Recovery                 9.8               .1
B130 Asset Disposition                          12.7              3.4
B140 Relief from Stay/Adequate
Protection                                         0.0           0.0
B150 Meetings of & Communications with
Creditors                                       8.4              0.0
B160 Fee/Employment Applications               14.2              6.5
B170 Fee/Employment Objections                  0.0              0.0
B180 Avoidance Action Analysis                  0.0              0.0
B185 Assumption/Rejection of Executory
Contracts                                       0.0              0.0
B190 Other Contested Matters                   79.9              0.3
B195 Non-Working Travel                        16.0              0.0
B210 Business Operations                       10.4              0.0
B220 Employee Benefits/Pensions                 0.0              0.0
B230 Financing/Cash Collections                 0.0              0.0
B240 Tax Issues                                 0.0              0.0
B250 Real Estate                                1.7              0.0
B260 Board of Directors Matters                 0.0              0.0
B300 Claims and Plan                            0.0              8.7
B310 Claims Administration and
Objections                                      1.7              0.0
B320 Plan and Disclosure Statement             270.6              .1
B410 General Bankruptcy
Advice/Opinions                                 0.0               0.0
B420 Restructurings                             0.0               0.0
TOTALS:                                        647.8             38.9




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                              EXHIBIT “C”

        DETAILED RECORD OF FEES FOR THE FEE PERIOD




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                                        2525 MCKINNON, SUITE 425
                                            DALLAS, TX 75201
                                              (214) 420-2163
                                           TAX I.D. NUMBER XX-XXXXXXX




                                                                                                        May 31, 2024
                                                                                                     Invoice # 777723
 Alex "AJ" Jones
 ATTN: Shelby A. Jordan                                                                         Responsible Attorney
 6207 Bee Cave Road, Suite 120                                                                      Vickie L. Driver
 Austin, TX 78746


 Client #           50134
 Matter #           00802

 Post – petition


                                          INVOICE SUMMARY

Current Invoice Total Fees                                                                         $212,175.00
Current Invoice Total Expenses                                                                        $6,856.59
Current Invoice Total                                                                              $219,031.59




                                              Payment Instructions

  Check Remittance:                            Credit Card Remittance:                              Wire Remittance:

  Mail To:                           https://www.crowedunlevy.com/makeapayment/                 Bank Name: BancFirst
  Crowe & Dunlevy                                                                                 Routing #103003632
  Braniff Building                                                                          Oklahoma City, OK 73102
  324 N. Robinson Ave., Ste. 100                                                      Account Name: Crowe & Dunlevy
  Oklahoma City, OK 73102                                                                 Account Number 4025023715
                                                                                               Swift Code BFOKUS44


          Please refer to Invoice # 777723 and any other invoice numbers being paid on your remittance.
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         Client #          50134                                                    Invoice # 777723
         Matter #          00802                                                 Responsible Attorney
                                                                                     Vickie L. Driver
         Post - petition


                                   SUMMARY OF PREVIOUS UNPAID INVOICES
Invoice             Invoice
Number              Date                      Amount Billed    Credits Applied            Balance Due

775589              04/23/2024                   141,560.60        -20,566.76              120,993.84

                    TOTALS:                     $141,560.60       $-20,566.76             $120,993.84
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Jones, Alex "AJ"                                                                              Page 3
                                                                                        May 31, 2024

Client #          50134                                                             Invoice # 777723
Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition




 04/01/2024           L. Dauphin      B190/   Prepare email discovery for                      2.00
                                                 second pass attorney review
                                                 related to Connecticut request.
 04/01/2024           V. Driver       B320/   Review and analyze expert due                    2.00
                                                 diligence and information
                                                 requested and research items
                                                 (1.3); scheduling emails
                                                 regarding depositions and
                                                 prep sessions with experts
                                                 (.3); refining document
                                                 review protocols (.4).
 04/01/2024           C. Regens       B320/   Research and analyze section                     0.80
                                                 1129(b)(3)(B).
 04/01/2024           C. Stephenson   B320/   Draft correspondence regarding                   4.10
                                                 plan research and analysis
                                                 (1.9); review and analyze
                                                 caselaw and summary
                                                 correspondence regarding
                                                 same (2.2).
 04/02/2024           L. Dauphin      B190/   Create document review set                       0.20
                                                 containing inclusive email
                                                 threads.
 04/02/2024           V. Driver       B320/   Attend J. Schultse deposition                    7.50
                                                  (4.1); meeting with experts
                                                  (3.4).
 04/02/2024           V. Driver       B320/   Email and calls with counsel for                 1.80
                                                Sub V Trustee on settlement
                                                and mediation progress (.4);
                                                internal strategy meeting
                                                regarding mediation and
                                                related confirmation issues
                                                (1.4).
 04/02/2024           M. Figueroa     B320/   Conference regarding plan                        0.10
                                                 research.
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Jones, Alex "AJ"                                                                               Page 4
                                                                                         May 31, 2024

Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 04/02/2024           C. Regens       B320/   Legal research and analysis                       2.30
                                                 relating to plans.
 04/02/2024           C. Regens       B320/   Conference with experts                           2.00
                                                 regarding plan.
 04/02/2024           C. Regens       B320/   Monitor deposition of Jeffrey                     4.00
                                                Shulse.
 04/02/2024           C. Stephenson   B320/   Draft and revise deposition                       3.90
                                                 notices (1.9); draft creditor
                                                 correspondence regarding
                                                 deadlines (.2); draft
                                                 correspondence regarding
                                                 plan research (1.8).
 04/02/2024           C. Stephenson   B320/   Meeting with expert.                              1.60


 04/02/2024           C. Stephenson   B320/   Monitor J. Shulse deposition.                     3.80


 04/02/2024           E. Weaver       B310/   Revise and update claims                          0.60
                                                 spreadsheet and forward to
                                                 Blackbriar Advisors.
 04/03/2024           V. Driver       B320/   Email and calls with counsel for                  1.80
                                                Sub V Trustee on settlement
                                                and mediation progress (.4);
                                                internal strategy meeting
                                                regarding mediation and
                                                related confirmation issues
                                                (1.4).
 04/03/2024           M. Figueroa     B320/   Perform and analyze plan related                  2.60
                                                  research.
 04/03/2024           C. Regens       B320/   Legal research and analysis                       9.00
                                                 relating to plans.
 04/03/2024           C. Stephenson   B130/   Perform analysis regarding                        1.20
                                                  personal property sales (.7);
                                                  draft correspondence
                                                  regarding same (.5).
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Client #          50134                                                                Invoice # 777723
Matter #          00802                                                             Responsible Attorney
                                                                                        Vickie L. Driver
Post - petition

 04/03/2024           C. Stephenson   B320/   Perform plan confirmation and                       2.70
                                                  research analysis.
 04/04/2024           V. Driver       B130/   Emails and calls on storage                         0.60
                                                facility cleanout after auction
                                                (.4); emails with financial
                                                advisor on UCC approval for
                                                boat sale at wholesale (.2).
 04/04/2024           V. Driver       B160/   Research support for escrow                         0.40
                                                 application.
 04/04/2024           V. Driver       B210/   Researching Crowder contract                        0.30
                                                 and review execution copy.
 04/04/2024           V. Driver       B320/   Review of emails and coding for                     1.70
                                                 production.
 04/04/2024           M. Figueroa     B320/   Perform and analyze plan related                    0.10
                                                  research.
 04/04/2024           C. Regens       B320/   Legal research and analysis                         7.50
                                                 relating to plans.
 04/04/2024           E. Weaver       B190/   Review email correspondence                         0.50
                                                 from Bob Schleizer (.1);
                                                 Everlaw and Litshare search
                                                 for Louder with Crowder
                                                 contract (.4).
 04/05/2024           V. Driver       B130/   Follow up on emails and calls on                    0.60
                                                  storage facility cleanout after
                                                  auction.
 04/05/2024           V. Driver       B210/   Review and respond to emails on                     0.40
                                                 ESG products.
 04/05/2024           V. Driver       B310/   Analyze materials on claims value                   1.70
                                                 support.
 04/05/2024           C. Regens       B320/   Legal research, analysis and draft                  8.50
                                                 memoranda relating to plans.
 04/05/2024           C. Stephenson   B320/   Draft and revise mediation                          2.40
                                                 position paper.
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Client #          50134                                                            Invoice # 777723
Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 04/06/2024           V. Driver       B320/   Analyze research on confirmation                1.30
                                                 issues.
 04/07/2024           C. Regens       B320/   Legal research, analysis and draft              3.50
                                                 memoranda relating to plans.
 04/07/2024           C. Stephenson   B320/   Draft and revise mediation                      2.70
                                                 position paper.
 04/08/2024           V. Driver       B160/   Review email on expenses from                   0.50
                                                 N. Pattis and respond to same
                                                 (.3); analyze amendments to
                                                 application to employ Pattis
                                                 and new expenses (.2).
 04/08/2024           V. Driver       B320/   Review and revise mediation                     3.20
                                                 statement and send to
                                                 mediator (1.2); sending latest
                                                 settlement offer to mediator
                                                 (.3); call with Sub V Trustee
                                                 counsel on status of mediation
                                                 and related discovery (.6);
                                                 review revised liquidation
                                                 analysis (1.1).
 04/08/2024           C. Stephenson   B320/   Draft and revise mediation                      4.70
                                                 position paper and related
                                                 correspondence.
 04/08/2024           E. Weaver       B320/   Docket updated dates and                        1.20
                                                 deadlines in the third
                                                 amended scheduling order for
                                                 confirmation hearing.
 04/08/2024           E. Weaver       B320/   Email correspondence to Rosario                 0.20
                                                Saldana with the court
                                                regarding the third amended
                                                scheduling order for
                                                confirmation hearing
                                                submitted on 04-08-2024.
 04/09/2024           V. Driver       B160/   Emails regarding expenses for N.                0.20
                                                Pattis firm for compensation.
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Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 04/09/2024           V. Driver       B190/   Evaluating claims regarding                       2.20
                                                 video.
 04/09/2024           V. Driver       B320/   Emails and calls regarding plan                   1.80
                                                deposition of AJ scheduling
                                                and logistics (.5); review and
                                                analyze liquidation analysis
                                                (1.3).
 04/09/2024           C. Regens       B320/   Analyze expert materials.                         1.00


 04/09/2024           C. Regens       B320/   Analyze expert materials.                         1.00


 04/09/2024           C. Regens       B320/   Legal research, analysis and draft                4.20
                                                 memoranda relating to plans.
 04/09/2024           C. Stephenson   B320/   Call with financial advisor                       0.50
                                                  regarding liquidation analysis
                                                  issues.
 04/09/2024           C. Stephenson   B320/   Review and analyze supplemental                   2.20
                                                 plan research.
 04/09/2024           E. Weaver       B320/   Review email correspondence                       0.10
                                                 regarding pre-mediation date
                                                 and docket date same.
 04/10/2024           V. Driver       B190/   Review and analysis of                            5.10
                                                 documents for production
                                                 (3.1); review email from
                                                 counsel for ESG and propose
                                                 resolution to same (.3); calls
                                                 regarding same with client
                                                 and FA (.4); email response to
                                                 ESG counsel on resolution
                                                 (.3).
 04/10/2024           V. Driver       B320/   Calls and emails on expert report                 0.40
                                                  deadline extension.
 04/10/2024           C. Stephenson   B320/   Review FSS appraisal report.                      1.10
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Client #          50134                                                               Invoice # 777723
Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 04/10/2024           C. Stephenson   B320/   Review Debtor Deposition                           2.80
                                                 transcript.
 04/10/2024           E. Weaver       B160/   Telephone call with Chrystal                       0.10
                                                 Madden at co-counsel's office
                                                 regarding total numbers for
                                                 fees to date.
 04/10/2024           E. Weaver       B170/   Follow-up email correspondence                     0.10
                                                  to Rachel Kennerly regarding
                                                  second interim fee
                                                  application.
 04/11/2024           L. Dauphin      B190/   Review and respond to attorney                     0.20
                                                 email regarding email
                                                 produced by Wilkie Farr.
 04/11/2024           V. Driver       B130/   Drafting motion to sell property                   1.60
                                                 (1.2); emails with UCC on
                                                 ranch contract (.4).
 04/11/2024           V. Driver       B190/   Additional review and coding                       2.10
                                                 documents for production.
 04/11/2024           V. Driver       B320/   Calls and emails on progress of                    1.30
                                                  negotiations (.2); emails and
                                                  analysis of liquidation
                                                  analysis items (.9); logistics
                                                  for FA deposition (.2).
 04/11/2024           C. Stephenson   B130/   Review sale-related                                0.80
                                                 correspondence.
 04/11/2024           C. Stephenson   B160/   Review and revise March fee                        3.50
                                                 statement (2.7); draft related
                                                 correspondence (.8).
 04/11/2024           C. Stephenson   B320/   Review and respond to                              0.40
                                                 correspondence regarding
                                                 professional fee forecast
                                                 issues.
 04/12/2024           V. Driver       B110/   Calls with client and FA on status                 0.90
                                                  of case.
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                                                                                         May 31, 2024

Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 04/12/2024           V. Driver       B190/   Initial review of M3 Report.                      0.90


 04/12/2024           C. Stephenson   B320/   Review updated draft liquidation                  0.80
                                                 analysis.
 04/14/2024           V. Driver       B195/   Travel to Austin for Deposition                   1.20
                                                 prep (2.4 hours billed at half
                                                 time) 1.2.
 04/14/2024           V. Driver       B210/   Review emails for signatures on                   0.40
                                                 contract and emails regarding
                                                 same.
 04/14/2024           V. Driver       B320/   Preparation for deposition (1.6);                 3.70
                                                 call with expert on finalizing
                                                 report (2.1).
 04/14/2024           C. Regens       B320/   Review draft expert report                        3.20
                                                 materials; and conference
                                                 with experts.
 04/15/2024           L. Dauphin      B190/   Prepare supplemental client                       1.10
                                                 document production for
                                                 attorney review and approval.
 04/15/2024           V. Driver       B120/   Meeting with client on issues with                1.10
                                                "Home Construction"
                                                amounts and strategy to
                                                challenge same.
 04/15/2024           V. Driver       B130/   Review motion with information                    0.40
                                                 from broker and revise same.
 04/15/2024           V. Driver       B190/   Review of final documents and                     2.80
                                                 coding same for production
                                                 (1.2); discuss production
                                                 parameters (.6); emails with
                                                 N. Pattis office on document
                                                 retention and storage (.2);
                                                 analyze additional discovery
                                                 needed (.8).
 04/15/2024           V. Driver       B320/   Preparation for and attend                        4.30
                                                 deposition of client.
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Jones, Alex "AJ"                                                                              Page 10
                                                                                         May 31, 2024

Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 04/15/2024           C. Regens       B320/   Participate in Debtor's deposition.               3.50


 04/15/2024           C. Regens       B320/   Conference with expert regarding                  0.50
                                                 case law relating to report.
 04/15/2024           C. Stephenson   B130/   Draft real property sale order and                2.80
                                                 related correspondence.
 04/15/2024           C. Stephenson   B320/   Review and transmit expert                        3.70
                                                 report.
 04/15/2024           C. Stephenson   B320/   Review creditor expert report.                    1.30


 04/15/2024           E. Weaver       B110/   Review and respond to email                       0.30
                                                 correspondence from Kathy
                                                 Norderhaug regarding trustee
                                                 fees (.1); telephone call to US
                                                 Trustee' s office to discuss fee
                                                 inquiry and updated numbers
                                                 (.2).
 04/15/2024           E. Weaver       B320/   Work on fee tracking spreadsheet                  4.10
                                                for all professionals to prepare
                                                for mediation.
 04/15/2024           E. Weaver       B320/   Procure declaration supporting                    0.30
                                                 the 9019 motion and Exhibit
                                                 A filed under seal (.2);
                                                 circulate same to team for
                                                 mediation prep (.1).
 04/16/2024           V. Driver       B195/   Travel from Austin to FW for                      1.60
                                                 mediation. (3.2 billed at half
                                                 time) 1.6.
 04/16/2024           V. Driver       B320/   Lengthy calls and meetings with                   3.20
                                                 various constituencies in
                                                 preparation for mediation
                                                 (2.4); emails with CT counsel
                                                 on information requested
                                                 from expert report (.5); call
                                                 with expert on same (.3).
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Jones, Alex "AJ"                                                                             Page 11
                                                                                        May 31, 2024

Client #          50134                                                             Invoice # 777723
Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 04/16/2024           D. McClellan    B320/   Review timeline of state court                   0.50
                                                 default judgments and
                                                 communicate with Crissie W.
                                                 Stephenson for status
                                                 conference preparation.
 04/16/2024           C. Stephenson   B320/   Attend pre-mediation client                      7.40
                                                  meetings and meetings with
                                                  other parties in interest.
 04/16/2024           E. Weaver       B160/   Work on fee tracking spreadsheet                 2.40
                                                for all professionals to prepare
                                                for mediation.
 04/16/2024           E. Weaver       B160/   Review fee statements received                   0.20
                                                 from the creditors committee
                                                 and circulate to team.
 04/17/2024           V. Driver       B320/   Preparation for and attend                      14.20
                                                 mediation (10.4); meetings
                                                 after mediation working on
                                                 response to latest offer and
                                                 strategy regarding same (3.8).
 04/17/2024           D. McClellan    B190/   Draft motion to dismiss for                      2.10
                                                 continuing diminution of the
                                                 estate.
 04/17/2024           C. Stephenson   B320/   Prepare for and attend in-person                 9.40
                                                 mediation.
 04/17/2024           E. Weaver       B320/   Review email correspondence                      0.20
                                                 from the US Trustee (.1);
                                                 docket extension deadline for
                                                 plan objection (.1).
 04/17/2024           E. Weaver       B320/   Procure and compile documents                    2.00
                                                 for mediation and assist with
                                                 same.
 04/18/2024           V. Driver       B320/   Preparation for and attend                       9.50
                                                 mediation (7.4); meetings
                                                 after mediation with various
                                                 parties (2.1).
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Jones, Alex "AJ"                                                                              Page 12
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Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 04/18/2024           D. McClellan    B190/   Draft motion to dismiss for                      11.10
                                                 continuing diminution of the
                                                 estate.
 04/18/2024           C. Stephenson   B320/   Prepare for and attend in-person                  7.30
                                                 mediation and related client
                                                 meeting.
 04/19/2024           V. Driver       B110/   Calls with client on issues relating              2.40
                                                  to exist strategies and issues
                                                  relating thereto (1.3); calls
                                                  with FA and expert on status
                                                  of case and status conferences
                                                  on Monday to discuss same
                                                  (1.1).
 04/19/2024           C. Stephenson   B210/   Review PQPR MSJ.                                  1.60


 04/22/2024           V. Driver       B110/   Calls with client, FA, and counsel                5.00
                                                  for various constituents
                                                  regarding status conference
                                                  (2.5); preparation for and
                                                  attend status conference (1.3);
                                                  calls with client regarding
                                                  status conference outcome
                                                  and next step (1.2).
 04/22/2024           V. Driver       B195/   Travel to Houston for status                      1.20
                                                 conference (2.4 billed at half
                                                 time) 1.2.
 04/22/2024           C. Stephenson   B110/   Perform and analyze research                      4.80
                                                  regarding case exit matters
                                                  and plan issues.
 04/22/2024           C. Stephenson   B210/   Monitor status conference.                        0.80


 04/23/2024           V. Driver       B110/   Call with client and co-counsel                   3.20
                                                  (1.1); meeting to discuss
                                                  analysis of exit strategies
                                                  (1.4); discuss meeting with
                                                  client. (0.7)
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Jones, Alex "AJ"                                                                              Page 13
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Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 04/23/2024           V. Driver       B190/   Analyze status conference set and                 0.40
                                                 matters referenced.
 04/23/2024           C. Stephenson   B120/   Draft 2004 Exam of Luke Blair                     4.10
                                                 Construction (1.3); perform
                                                 research regarding same (1.7);
                                                 draft related correspondence
                                                 (1.1).
 04/23/2024           C. Stephenson   B160/   Review and revise statements                      2.70
                                                 (1.8); draft correspondence
                                                 regarding interim fee
                                                 statements (.9).
 04/23/2024           E. Weaver       B110/   Review spreadsheet received                       1.40
                                                 from BlackBriar Advisors
                                                 (.2); draft, finalize and file
                                                 March monthly operating
                                                 report (1.2).
 04/23/2024           E. Weaver       B110/   Email correspondence to US                        0.20
                                                Trustee's office attaching file-
                                                stamped copy of March
                                                monthly operating report and
                                                supporting bank statements.
 04/24/2024           V. Driver       B110/   Calls with constituents discussing                2.70
                                                  exit strategies and any
                                                  remaining possible resolutions
                                                  to any issues in cases.
 04/24/2024           C. Stephenson   B160/   Review and approve interim fee                    2.10
                                                 statement for filing (1.3); draft
                                                 related correspondence (.8).
 04/24/2024           E. Weaver       B160/   Email correspondence to team                      0.10
                                                regarding Rachel Kennerly's
                                                second interim fee
                                                application.
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Jones, Alex "AJ"                                                                               Page 14
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Client #          50134                                                               Invoice # 777723
Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 04/24/2024           E. Weaver       B160/   Finalize and file thirteenth                       1.30
                                                 monthly fee statement (1.0);
                                                 coordinate e-service to notice
                                                 parties (.2); docket objection
                                                 deadline (.1).
 04/24/2024           E. Weaver       B190/   Review case dockets for the FSS                    0.30
                                                 adversary cases and docket
                                                 status conference dates for
                                                 each.
 04/27/2024           V. Driver       B160/   Emails on extension to object to                   0.30
                                                Tenoe's fees and confirming
                                                same.
 04/29/2024           C. Stephenson   B110/   Prepare for and attend client                      3.30
                                                 meeting and meeting with
                                                 financial advisor.
 04/29/2024           C. Stephenson   B195/   Travel from DFW to Austin for                      1.80
                                                 client meeting [billed at half-
                                                 time].
 04/29/2024           C. Stephenson   B250/   Perform document review related                    1.70
                                                  to homestead exemption
                                                  issues.
 04/29/2024           E. Weaver       B130/   Revise motion for order                            0.80
                                                 authorizing sale of real
                                                 property FM 621 - Ranch.
 04/30/2024           C. Stephenson   B195/   Travel from Austin to DFW from                     1.80
                                                 client meeting [billed at half-
                                                 time].
 04/30/2024           C. Stephenson   B320/   Conference and analysis                            3.30
                                                 regarding outstanding case
                                                 matters.
 04/30/2024           E. Weaver       B160/   Review TXSB LBRs (.2); initial                     5.20
                                                 draft of final fee application
                                                 (5.0).
                                                                    Total Hours                289.60
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Jones, Alex "AJ"                                                                              Page 15
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Client #          50134                                                              Invoice # 777723
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 Total Fees for this Invoice                                                             $212,175.00




                                        SUMMARY OF TASKS
                                                                   Task
                  Task         Hours        Amount               Description
                  B110          24.20      19,830.00   Bankruptcy - Case
                                                       Administration
                  B120           5.20       4,427.00   Bankruptcy - Asset Analysis and
                                                       Recovery
                  B130           8.80       7,092.00   Bankruptcy - Asset Disposition
                  B160          19.00      10,982.00   Bankruptcy - Fee/Employment
                                                       Applications
                  B170           0.10          29.50   Bankruptcy - Fee/Employment
                                                       Objections
                  B190          31.00      17,153.00   Bankruptcy - Other Contested
                                                       Matters (excluding
                                                       assumption/rejection motions)
                  B195           7.60       6,542.00   Bankruptcy - Non-Working
                                                       Travel
                  B210           3.50       2,990.50   Bankruptcy - Business
                                                       Operations
                  B250           1.70       1,436.50   Bankruptcy - Real Estate
                  B310           2.30       1,664.50   Bankruptcy - Claims
                                                       Administration and Objections
                  B320         186.20     140,028.00   Bankruptcy - Plan and
                                                       Disclosure Statement (including
                                                       Business Plan)
                  Total        289.60    $212,175.00
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Jones, Alex "AJ"                                                                                  Page 16
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Client #          50134                                                                  Invoice # 777723
Matter #          00802                                                               Responsible Attorney
                                                                                          Vickie L. Driver
Post - petition

04/03/2024        Everlaw- eDiscovery Data Hosting and Storage for subscription                  $4,728.00
                  database for the month of March 2024

04/04/2024        Driver , Vickie reimbursement of travel expenses to Austin Texas for               811.65
                  Trial preparation for Alex Jones and FSS 3/21/2024; transportation $
                  755.17 and meal $ 56.48

04/04/2024        Driver , Vickie reimbursement of travel expenses to Austin Texas for               563.62
                  Litigation preparation 3/27/2024; transportation $ 508.38 and meals
                  $ 55.24

04/30/2024        Stephenson, Christina reimbursement of travel expenses to Austin                   586.20
                  Texas for client meetings 4/28-30/2024; transportation $ 532.20 and
                  parking $ 54.00

       Subtotal of Expenses                                                              $6,689.47
 Copy (0 @ 0.00¢)                                                                        $93.02

 Online Research                                                                         74.10

        Subtotal of Costs                                                                $167.12
 Total Expenses and Costs for this Invoice                                               $6,856.59


                               SUMMARY OF DISBURSEMENTS
                          Task                                         Task
                          Code             Amount                   Description
                          E102                93.02      Outside printing
                          E106                74.10      On-line research
                          E110             1,961.47      Out-of-town travel
                          E118             4,728.00      Litigation support vendors
                          Total           $6,856.59



Total For This Invoice                                                                        $219,031.59
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Jones, Alex "AJ"                                                                 Page 17
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Client #          50134                                               Invoice # 777723
Matter #          00802                                            Responsible Attorney
                                                                       Vickie L. Driver
Post - petition

                              SUMMARY OF FEES
                                    Hours       Hourly                Bill
                   Name            Worked         Rate             Amount
      L. Dauphin                      3.50      195.00              682.50
      D. McClellan                   13.70      335.00            4,589.50
      V. Driver                      97.90      875.00           85,662.50
      C. Stephenson                  99.10      845.00           83,739.50
      E. Weaver                      21.60      295.00            6,372.00
      M. Figueroa                     2.80      280.00              784.00
      C. Regens                      51.00      595.00           30,345.00
      Total                         289.60                     $212,175.00
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                                        2525 MCKINNON, SUITE 425
                                            DALLAS, TX 75201
                                              (214) 420-2163
                                           TAX I.D. NUMBER XX-XXXXXXX




                                                                                                        May 31, 2024
                                                                                                     Invoice # 777725
 Alex "AJ" Jones
 ATTN: Shelby A. Jordan                                                                         Responsible Attorney
 6207 Bee Cave Road, Suite 120                                                                      Vickie L. Driver
 Austin, TX 78746


 Client #           50134
 Matter #           00802

 Post – petition


                                          INVOICE SUMMARY

Current Invoice Total Fees                                                                         $212,562.00
Current Invoice Total Expenses                                                                        $9,227.03
Current Invoice Total                                                                              $221,789.03




                                              Payment Instructions

  Check Remittance:                            Credit Card Remittance:                              Wire Remittance:

  Mail To:                           https://www.crowedunlevy.com/makeapayment/                 Bank Name: BancFirst
  Crowe & Dunlevy                                                                                 Routing #103003632
  Braniff Building                                                                          Oklahoma City, OK 73102
  324 N. Robinson Ave., Ste. 100                                                      Account Name: Crowe & Dunlevy
  Oklahoma City, OK 73102                                                                 Account Number 4025023715
                                                                                               Swift Code BFOKUS44


          Please refer to Invoice # 777725 and any other invoice numbers being paid on your remittance.
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         Jones, Alex "AJ"                                                                     Page 2
                                                                                        May 31, 2024

         Client #          50134                                                    Invoice # 777725
         Matter #          00802                                                 Responsible Attorney
                                                                                     Vickie L. Driver
         Post - petition


                                   SUMMARY OF PREVIOUS UNPAID INVOICES
Invoice             Invoice
Number              Date                      Amount Billed    Credits Applied            Balance Due

775589              04/23/2024                   141,560.60        -20,566.76              120,993.84

                    TOTALS:                     $141,560.60       $-20,566.76             $120,993.84
       Case 22-33553 Document 682 Filed in TXSB on 05/31/24 Page 29 of 47
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Client #          50134                                                              Invoice # 777725
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition




 05/01/2024           C. Stephenson   B110/   Call and correspondence                           1.70
                                                  regarding case strategy
                                                  matters.
 05/01/2024           C. Stephenson   B150/   Review creditor and UST                           1.70
                                                 correspondence (.8); attend
                                                 call regarding same (.9).
 05/01/2024           E. Weaver       B130/   Finalize and file motion to sell                  0.30
                                                 FM 621 and docket objection
                                                 deadline.
 05/01/2024           E. Weaver       B160/   Review spreadsheet received                       1.80
                                                 from BlackBriar Advisors and
                                                 draft eleventh monthly fee
                                                 statement.
 05/01/2024           E. Weaver       B320/   Review email correspondence                       0.10
                                                 from US Trustee's Office
                                                 regarding extension of plan
                                                 objection deadline and docket
                                                 same.
 05/02/2024           C. Stephenson   B120/   Draft Notice of 2004 Examination                  4.00
                                                 of Luke Blair Construction
                                                 (1.8); pull information
                                                 regarding same (2.2).
 05/03/2024           V. Driver       B320/   Call with CT on liquidating plan                  1.50
                                                  and related issues (.8); call
                                                  with client regarding same
                                                  (.7).
 05/03/2024           C. Stephenson   B150/   Prepare for and attend call with                  2.80
                                                 creditors (1.7); review
                                                 correspondence regarding
                                                 same (1.1).
 05/06/2024           J. Davis        B190/   Review District Court order (.3);                 1.00
                                                 begin preparations for oral
                                                 argument (.7).
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Jones, Alex "AJ"                                                                            Page 4
                                                                                      May 31, 2024

Client #          50134                                                           Invoice # 777725
Matter #          00802                                                        Responsible Attorney
                                                                                   Vickie L. Driver
Post - petition

 05/06/2024           V. Driver   B320/   Drafting liquidating plan (1.9);                   2.10
                                             emails with UCC on
                                             liquidating plan. (.2)
 05/07/2024           V. Driver   B110/   Calls with client regarding status                 1.50
                                              of case (.8); calls with FA
                                              regarding status of case (.7).
 05/07/2024           E. Weaver   B160/   Finalize and file eleventh monthly                 0.80
                                             fee statement of BlackBriar
                                             Advisors and serve via email
                                             to notice parties.
 05/07/2024           E. Weaver   B190/   Review setting notices in both                     0.30
                                             appeals cases and docket
                                             hearing dates on motions for
                                             leave.
 05/08/2024           V. Driver   B130/   Setting motion to sell for hearing.                0.20


 05/08/2024           V. Driver   B190/   Emails with UCC on timing of                       1.50
                                            production of invoices (.1);
                                            call with FA regarding FSS
                                            finding additional invoices
                                            and obtaining same for
                                            production (.5).
 05/08/2024           E. Weaver   B110/   Docket status conference                           0.20
                                             scheduled in both the AJ and
                                             FSS cases for 05-21-2024.
 05/08/2024           E. Weaver   B120/   Review motion for turnover of                      0.10
                                             property of Cicack Holdings
                                             in the FSS case and docket
                                             objection deadline.
 05/08/2024           E. Weaver   B130/   Email correspondence to the court                  0.20
                                            case manager regarding
                                            setting motion to sell FM 621
                                            for hearing the same day as
                                            the status conference
                                            scheduled for 05-21-2024.
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Client #          50134                                                            Invoice # 777725
Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 05/08/2024           E. Weaver       B130/   Draft notice of hearing on motion               0.50
                                                 to sell FM 621.
 05/08/2024           E. Weaver       B160/   Review the UCC's fee and                        0.20
                                                 expense summary for
                                                 February and March, 2024
                                                 and forward to BlackBriar
                                                 Advisors.
 05/09/2024           L. Dauphin      B190/   Prepare supplemental client                     0.20
                                                 document production.
 05/09/2024           V. Driver       B190/   Coordinate document production                  1.80
                                                 of invoices coded "home
                                                 construction" and paid by FSS
                                                 to UCC and review same.
 05/09/2024           V. Driver       B320/   Review and revise liquidating                   2.50
                                                 plan (2.3); emails with UCC
                                                 on related documents. (.2)
 05/09/2024           C. Stephenson   B320/   Review and revise Plan (4.7);                   7.20
                                                 draft related correspondence
                                                 (1.2); call regarding same (.9);
                                                 correspondence with creditors
                                                 regarding trust provisions (.4).
 05/10/2024           C. Stephenson   B160/   Review and respond to fee                       0.30
                                                 inquiries.
 05/10/2024           C. Stephenson   B320/   Prepare for and attend Plan                     6.20
                                                 conference call (2.1); draft
                                                 and revise plan (2.8); draft
                                                 multiple correspondence
                                                 regarding same (1.3).
 05/13/2024           V. Driver       B320/   Analyze issues with liquidating                 0.40
                                                 plan.
 05/13/2024           C. Stephenson   B150/   Review and respond to creditor                  0.30
                                                 correspondence.
 05/13/2024           C. Stephenson   B160/   Review and respond to interim                   0.30
                                                 fee inquiries.
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Client #          50134                                                             Invoice # 777725
Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 05/13/2024           C. Stephenson   B320/   Draft Plan-related                               0.30
                                                 correspondence.
 05/14/2024           V. Driver       B130/   Review emails from title                         1.00
                                                 company and start search for
                                                 documents responding to
                                                 same. (.8); review and
                                                 approve notice of hearing for
                                                 filing and service (.2).
 05/14/2024           V. Driver       B210/   Review and analyze status of FSS                 1.30
                                                 and related issues.
 05/14/2024           V. Driver       B320/   Call with TX, CT and UCC on                      6.40
                                                  settlement terms and related
                                                  issues (.8); meetings with
                                                  client analyzing items in
                                                  settlement and developing
                                                  strategy for response (3.1);
                                                  calls with various constituents
                                                  regarding liquidating plan
                                                  terms (1.2); review and revise
                                                  counter proposal terms (.9);
                                                  emails with CT counsel on
                                                  settlement terms (.4).
 05/14/2024           C. Stephenson   B320/   Review and analyze counter                       2.10
                                                 proposal to plaintiffs (1.3);
                                                 conference regarding same
                                                 (.8).
 05/14/2024           E. Weaver       B110/   Email correspondence to Bob                      0.20
                                                Schleizer and Kathy
                                                Norderhaug regarding notice
                                                received from US Trustee's
                                                office.
 05/14/2024           E. Weaver       B130/   Finalize and file notice of hearing              0.20
                                                 on motion to sell FM 621.
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Jones, Alex "AJ"                                                                              Page 7
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Client #          50134                                                             Invoice # 777725
Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 05/14/2024           E. Weaver       B160/   Review spreadsheet received                      2.00
                                                 from BlackBriar Advisors and
                                                 draft twelfth monthly fee
                                                 statement.
 05/15/2024           V. Driver       B110/   Review and revise liquidating                    3.00
                                                 plan and related documents
                                                 (2.2); review and revise
                                                 settlement offer terms (.8).
 05/15/2024           V. Driver       B320/   Emails approving extension.                      0.20


 05/15/2024           C. Stephenson   B110/   Perform analysis regarding case                  2.30
                                                  closure and conversion
                                                  matters.
 05/15/2024           C. Stephenson   B160/   Correspondence regarding                         1.60
                                                 professional fee issues.
 05/15/2024           E. Weaver       B160/   Finalize, file and e-serve to notice             0.70
                                                 parties twelfth monthly fee
                                                 statement of BlackBriar
                                                 Advisors.
 05/15/2024           E. Weaver       B160/   Finalize, file and e-serve to notice             0.00
                                                 parties twelfth monthly fee
                                                 statement of BlackBriar
                                                 Advisors.
 05/16/2024           J. Davis        B110/   Trial team call to discuss                       1.00
                                                  bankruptcy exit strategies and
                                                  also the hearing on May 31,
                                                  2024
 05/16/2024           V. Driver       B110/   Analyze issues regarding exit                    0.90
                                                 from case under various
                                                 scenarios.
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Jones, Alex "AJ"                                                                               Page 8
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Client #          50134                                                              Invoice # 777725
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 05/16/2024           V. Driver       B320/   Analyze and revise settlement                     3.80
                                                 offer to CT and TX for
                                                 liquidating plan resolving
                                                 limited issues (2.3); emails
                                                 with CT counsel on
                                                 liquidating plan and timing
                                                 (.2); review transcript from
                                                 last status conference
                                                 regarding statements by TX
                                                 and CT lawyers (.4); analyze
                                                 issues with reviving Jones
                                                 plan and interest of client in
                                                 same (.9).
 05/16/2024           D. McClellan    B110/   Develop strategy regarding exit                   0.50
                                                 from bankruptcy.
 05/16/2024           C. Stephenson   B320/   Conferences regarding counter-                    6.20
                                                 proposal to plaintiff parties
                                                 (1.2); prepare multiple
                                                 revisions to draft counter-
                                                 proposal (2.9); draft multiple
                                                 correspondence regarding
                                                 same (1.3); review multiple
                                                 creditor correspondence (.8).
 05/16/2024           E. Weaver       B160/   Prepare task code spreadsheet for                 1.00
                                                 all time entries from 12-02-
                                                 2022 through present and
                                                 work on final fee application.
 05/17/2024           V. Driver       B320/   Review email from K. Kimpler                      1.70
                                                 rejecting settlement offer (.1);
                                                 emails to team and FSS to
                                                 seek information on how to
                                                 resolve cases in light of CT's
                                                 failure to negotiate (.3); calls
                                                 with various parties on
                                                 direction of confirmation
                                                 hearing (1.3).
 05/17/2024           J. Jones        B110/   Develop strategy regarding exit in                4.50
                                                 bankruptcy.
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Jones, Alex "AJ"                                                                                Page 9
                                                                                          May 31, 2024

Client #          50134                                                               Invoice # 777725
Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 05/17/2024           D. McClellan    B110/   Develop strategy regarding exit                    4.50
                                                 from bankruptcy.
 05/17/2024           C. Stephenson   B150/   Review and analyze multiple                        0.80
                                                 creditor correspondence.
 05/17/2024           C. Stephenson   B320/   Review and analyze Creditors'                      2.00
                                                 Notice regarding Plan (1.1);
                                                 conference regarding same
                                                 (.9).
 05/17/2024           R. Yates        B110/   Formulate strategy for exiting                     0.60
                                                 bankruptcy post-mediation.
 05/18/2024           D. McClellan    B110/   Develop strategy regarding exit                    3.90
                                                 from bankruptcy (2.3); assist
                                                 with preparations for Motion
                                                 for Leave to Appeal (1.6).
 05/19/2024           D. McClellan    B110/   Develop strategy regarding exit                    3.10
                                                 from bankruptcy.
 05/20/2024           V. Driver       B110/   Call with expert on status of case                 0.30
                                                  and confirmation.
 05/20/2024           V. Driver       B130/   Email documents to title company                   0.20
                                                regarding court approval.
 05/20/2024           V. Driver       B190/   Review emails on document                          0.40
                                                 production and call with S.
                                                 Lemmon regarding same.
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Jones, Alex "AJ"                                                                             Page 10
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 05/20/2024           V. Driver       B320/   Review and analyze notice filed                  4.50
                                                 by UCC on plan resumption
                                                 and analyze response needed
                                                 to same (.8); scheduling call
                                                 with UCC (.2); call with L.
                                                 Freeman on issues with path
                                                 to resolving cases (.5);
                                                 analyze alternative landings of
                                                 cases and paths forward (1.1);
                                                 call with UCC (.4); revise
                                                 plan per call with UCC(1.3);
                                                 review and revise notice for
                                                 filing. (.2)
 05/20/2024           J. Jones        B110/   Develop strategy regarding exit in               5.70
                                                 bankruptcy (3.7); analyze
                                                 issues for Motion for Leave to
                                                 appeal (2.0).
 05/20/2024           D. McClellan    B110/   Develop strategy regarding exit                  5.90
                                                 from bankruptcy.
 05/20/2024           C. Stephenson   B190/   Review Summary Judgment                          1.10
                                                 Response in FSS.
 05/20/2024           C. Stephenson   B320/   Review revised Plan (1.1); draft                 1.60
                                                 related correspondence (.3);
                                                 review UST comments (.2).
 05/20/2024           C. Stephenson   B320/   Prepare for and attend call with                 4.70
                                                 UCC regarding status
                                                 conference (.9); review and
                                                 respond to related
                                                 correspondence (1.4); draft
                                                 Notice and Comment
                                                 Regarding Creditor Notice
                                                 (2.4).
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Matter #          00802                                                            Responsible Attorney
                                                                                       Vickie L. Driver
Post - petition

 05/21/2024           V. Driver       B110/   Calls with FSS counsel on                          2.30
                                                  strategy for status conference
                                                  (.6); meeting with other
                                                  constituents preparing for
                                                  status conference (1.1); attend
                                                  status conference (.6).
 05/21/2024           V. Driver       B130/   Preparation for and attend hearing                 2.70
                                                 on sale of ranch (1.4); revise
                                                 order and send to creditors for
                                                 review and approval (.5);
                                                 review and analyze
                                                 information from title
                                                 company on issues with chain
                                                 of title (.8).
 05/21/2024           V. Driver       B195/   Travel from Dallas to Houston                      2.60
                                                 (1.6 (billed at half time 3.2);
                                                 aborted travel from Houston
                                                 to Dallas due to weather 1.0
                                                 (billed at half time 2.0).
 05/21/2024           J. Jones        B110/   Develop strategy regarding exit in                 5.50
                                                 bankruptcy.
 05/21/2024           D. McClellan    B110/   Develop strategy regarding exit                   11.20
                                                 from bankruptcy (7.7);
                                                 preparation for oral argument
                                                 on Motion for Leave (3.5).
 05/21/2024           C. Stephenson   B190/   Review summary judgment                            2.50
                                                 objection (1.7); review
                                                 turnover objection (.8).
 05/21/2024           C. Stephenson   B320/   Review creditor comments                           1.40
                                                 regarding markup of Creditor
                                                 plan (.6); draft related
                                                 correspondence (.8).
 05/21/2024           C. Stephenson   B320/   Attend status conference and                       2.90
                                                  review multiple related
                                                  correspondence.
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Matter #          00802                                                      Responsible Attorney
                                                                                 Vickie L. Driver
Post - petition

 05/21/2024           E. Weaver   B110/   Review spreadsheet received                      2.20
                                             from BlackBriar Advisors and
                                             draft April monthly operating
                                             report.
 05/21/2024           E. Weaver   B130/   Review email correspondence                      1.00
                                             from title company regarding
                                             documents needed for closing
                                             on FM 621 ranch and begin
                                             procuring documents
                                             regarding same.
 05/21/2024           E. Weaver   B130/   Email correspondence to Chrystal                 0.20
                                            Madden and Kathy
                                            Nordenhaug regarding
                                            operating agreement for
                                            Guadalupe Land Water, LLC
                                            in preparation for closing on
                                            06-07-2024.
 05/21/2024           E. Weaver   B130/   Revise proposed sale order and                   1.00
                                             submit to the court for
                                             consideration.
 05/22/2024           J. Davis    B190/   Review the briefing on Motion                    2.00
                                             for Leave to appeal.
 05/22/2024           V. Driver   B110/   Calls and emails with various                    4.50
                                              constituencies on strategy and
                                              Plaintiffs' position on exit
                                              strategy for Jones and FSS
                                              (1.3); calls with client
                                              regarding same (1.1); calls
                                              regarding timing on FSS and
                                              Jones plans and direction and
                                              coordination regarding same
                                              (1.1).
 05/22/2024           V. Driver   B120/   Analyze asset status and related                 0.60
                                             issues.
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Jones, Alex "AJ"                                                                              Page 13
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Client #          50134                                                              Invoice # 777725
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 05/22/2024           V. Driver       B130/   Emails with title company on                      0.60
                                                corrected deeds needed for
                                                sale (.3); researching
                                                documents needed by title
                                                company for sale (.3).
 05/22/2024           V. Driver       B195/   Travel from Houston to Dallas.                    1.60
                                                 1.6 (billed at half time 3.2).
 05/22/2024           V. Driver       B210/   Call with client and FA regarding                 1.80
                                                  meetings and issues with
                                                  broadcast and staff meeting
                                                  (1.2); review recording of
                                                  meeting (.6).
 05/22/2024           M. Foster       B110/   Develop strategy regarding exit in                5.70
                                                 bankruptcy (2.4); perform and
                                                 analyze research regarding
                                                 Motion for Leave (3.3).
 05/22/2024           J. Jones        B110/   Develop strategy regarding exit in                2.00
                                                 bankruptcy.
 05/22/2024           D. McClellan    B110/   Develop strategy regarding exit                   8.10
                                                 from bankruptcy (5.7);
                                                 preparation for oral argument
                                                 (2.4).
 05/22/2024           C. Stephenson   B110/   Perform research and analysis                     4.80
                                                  regarding case closure issues.
 05/22/2024           E. Weaver       B110/   Revise, finalize and file April                   0.60
                                                 monthly operating report.
 05/22/2024           R. Yates        B110/   Develop strategy on bankruptcy                    0.90
                                                 case exit.
 05/23/2024           M. Foster       B110/   Develop strategy regarding exit in                2.80
                                                 bankruptcy.
 05/23/2024           J. Jones        B110/   Develop strategy regarding exit in                9.00
                                                 bankruptcy (5.1); assist with
                                                 oral argument preparation
                                                 (3.9)
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Jones, Alex "AJ"                                                                              Page 14
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Client #          50134                                                              Invoice # 777725
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 05/23/2024           D. McClellan    B110/   Develop strategy regarding exit                   9.30
                                                 from bankruptcy (6.2);
                                                 prepare for oral argument
                                                 (3.1).
 05/23/2024           C. Stephenson   B320/   Review draft revised Plan of                      2.40
                                                 Liquidation (.5); draft
                                                 correspondence regarding
                                                 same (.8); review multiple
                                                 correspondence regarding
                                                 same (1.1).
 05/23/2024           C. Stephenson   B320/   Conferences and multiple                          2.30
                                                 correspondence regarding
                                                 plan negotiations and status of
                                                 various case issues.
 05/24/2024           M. Foster       B110/   Review strategy regarding exit in                 4.50
                                                 bankruptcy.
 05/24/2024           J. Jones        B110/   Develop strategy regarding exit in                4.50
                                                 bankruptcy.
 05/24/2024           D. McClellan    B110/   Develop strategy regarding exit                   7.90
                                                 from bankruptcy (5.6);
                                                 prepare for oral argument
                                                 (2.3).
 05/24/2024           C. Stephenson   B320/   Review and analyze Creditor Plan                  3.50
                                                 (.8); draft multiple
                                                 correspondence regarding
                                                 same (1.6); calls regarding
                                                 same (1.1).
 05/24/2024           C. Stephenson   B320/   Review draft FSS Plan.                            1.20


 05/24/2024           R. Yates        B110/   Formulate bankruptcy exit                         0.60
                                                 strategy with Deric J.
                                                 McClellan.
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Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 05/25/2024           D. McClellan    B110/   Develop strategy regarding exit                11.90
                                                 from bankruptcy (3.1);
                                                 prepare for oral argument
                                                 (8.8)
 05/25/2024           R. Yates        B110/   Review and analyze bankruptcy                   0.80
                                                 exit strategy.
 05/26/2024           D. McClellan    B110/   Develop strategy regarding exit                12.40
                                                 from bankruptcy (2.6);
                                                 prepare for Motion for Leave
                                                 oral arguments (9.8).
 05/27/2024           J. Jones        B110/   Develop strategy regarding exit in              1.80
                                                 bankruptcy.
 05/27/2024           D. McClellan    B110/   Develop strategy regarding exit                12.10
                                                 from bankruptcy (7.1);
                                                 preparation for Motion for
                                                 Leave to appeal hearing (5.0).
 05/27/2024           R. Yates        B110/   Work with team to develop                       0.50
                                                bankruptcy exit strategy.
 05/28/2024           J. Davis        B190/   Review the papers and case law                  1.50
                                                 regarding the interlocutory
                                                 appeal, and prepare for oral
                                                 argument.
 05/28/2024           M. Foster       B110/   Review strategy for bankruptcy                  5.60
                                                 case.
 05/28/2024           J. Jones        B110/   Develop strategy regarding exit in              1.30
                                                 bankruptcy.
 05/28/2024           D. McClellan    B110/   Develop strategy regarding exit                10.60
                                                 from bankruptcy (5.3);
                                                 preparation for Motion for
                                                 Leave to Appeal hearing
                                                 (5.1).
 05/28/2024           C. Stephenson   B110/   Perform research and analysis                   5.90
                                                  regarding bankruptcy
                                                  conversion issues (2.8); draft
                                                  Motion to Convert Case (3.1).
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 05/28/2024           C. Stephenson   B150/   Calls and correspondence with                    2.80
                                                  multiple creditors regarding
                                                  case issues.
 05/28/2024           R. Yates        B110/   Formulate a comprehensive                        5.50
                                                 strategy to efficiently exit
                                                 bankruptcy and ensure legal
                                                 compliance regarding same.
 05/29/2024           J. Davis        B190/   Review and study all briefing                    4.00
                                                 from Texas and Connecticut
                                                 plaintiffs, the Bankruptcy
                                                 Court MSJ opinion, and
                                                 prepare notes for oral
                                                 argument.
 05/29/2024           J. Davis        B190/   Conduct Mock Oral Argument/                      1.50


 05/29/2024           M. Foster       B190/   Assist with preparations for                     2.00
                                                 Motion for Leave to Appeal
                                                 hearing.
 05/29/2024           J. Jones        B190/   Prepare for Motion for Leave to                  4.00
                                                 Appeal contested hearing.
 05/29/2024           D. McClellan    B190/   Prepare for Motion for Leave to                 11.90
                                                 Appeal contested hearing.
 05/29/2024           A. Sokolosky    B110/   Begin researching whether a                      0.80
                                                 bankruptcy trustee can assert
                                                 ownership and control of a
                                                 debtor's single-member non-
                                                 debtor limited liability
                                                 company.
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 05/29/2024           C. Stephenson   B320/   Multiple conference calls with                  10.10
                                                 creditors and parties in
                                                 interest (3.7); multiple email
                                                 correspondence with parties in
                                                 interest regarding case status
                                                 and finalization issues (3.3);
                                                 review and analyze research
                                                 issues impacting plan matters
                                                 (3.1).
 05/29/2024           R. Yates        B190/   Assist with preparation for                      4.80
                                                 argument of Motion for Leave
                                                 to Appeal.
 05/30/2024           D. McClellan    B190/   Prepare for oral argument on                    12.10
                                                 Motion for Leave to Appeal.
 05/30/2024           D. McClellan    B195/   Travel to Houston for hearing on                 2.10
                                                 motion for leave to file
                                                 interlocutory appeal [4.2
                                                 billed at half-time]
 05/30/2024           A. Sokolosky    B110/   Continue researching whether a                   2.80
                                                 bankruptcy trustee can assert
                                                 ownership and control of a
                                                 debtor's single-member non-
                                                 debtor limited liability
                                                 company.
 05/30/2024           A. Sokolosky    B190/   Draft email memorandum                           1.10
                                                 regarding whether a
                                                 bankruptcy trustee can assert
                                                 ownership and control of a
                                                 debtor's single-member non-
                                                 debtor limited liability
                                                 company.
 05/30/2024           C. Stephenson   B210/   Calls and correspondence with                    3.80
                                                  FSS parties in interest
                                                  regarding various case
                                                  matters.
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Matter #          00802                                                                Responsible Attorney
                                                                                           Vickie L. Driver
Post - petition

 05/30/2024              C. Stephenson    B320/     Review and analyze research                      6.60
                                                       regarding plan issues (3.3);
                                                       draft and review related
                                                       correspondence (1.1); calls
                                                       and correspondence regarding
                                                       plan issues (2.2).
 05/31/2024              D. McClellan     B110/     Develop strategy regarding exit                  5.10
                                                       from bankruptcy and perform
                                                       research regarding same.
 05/31/2024              D. McClellan     B195/     Travel to Tulsa from hearing on                  2.10
                                                       motion for leave to file
                                                       interlocutory appeal [4.2
                                                       billed at half-time]
 05/31/2024              C. Stephenson    B160/     Review and revise fee statement.                 2.30


 05/31/2024              C. Stephenson    B320/     Attend calls and review and                      8.70
                                                        respond to correspondence
                                                        regarding plan/conversion
                                                        issues (2.5); make revisions to
                                                        liquidating plan (1.2); draft
                                                        motion to convert case (2.8);
                                                        draft plan objections (2.2).
                                                                          Total Hours              397.10

 Total Fees for this Invoice                                                                 $212,562.00




                                         SUMMARY OF TASKS
                                                                       Task
                  Task          Hours        Amount                  Description
                  B110          203.30      77,731.50     Bankruptcy - Case
                                                          Administration
                  B120            4.70       3,934.50     Bankruptcy - Asset Analysis and
                                                          Recovery
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                                                                                          Vickie L. Driver
Post - petition

                                        SUMMARY OF TASKS
                                                                        Task
                  Task         Hours          Amount                  Description
                  B130           8.10         5,115.50     Bankruptcy - Asset Disposition
                  B150           8.40         7,098.00     Bankruptcy - Meetings of and
                                                           Communications with Creditors
                  B160          11.00         5,720.00     Bankruptcy - Fee/Employment
                                                           Applications
                  B190          53.70        23,072.00     Bankruptcy - Other Contested
                                                           Matters (excluding
                                                           assumption/rejection motions)
                  B195           8.40         5,082.00     Bankruptcy - Non-Working
                                                           Travel
                  B210           6.90         5,923.50     Bankruptcy - Business
                                                           Operations
                  B320          92.60        78,885.00     Bankruptcy - Plan and
                                                           Disclosure Statement (including
                                                           Business Plan)
                  Total       397.10      $212,562.00



05/14/2024         Everlaw- eDiscovery Data Hosting and Storage for subscription               $4,728.00
                   database for the month of April 2024

05/22/2024         Driver , Vickie reimbursement of travel expenses to Austin Texas for           894.61
                   client meeting 4/14-16/2024; 404 miles x .67/mile= $ 270.68,
                   lodging $ 535.41 and meals $ 88.52

05/22/2024         Driver , Vickie reimbursement of travel expenses to Fort Worth               1,806.56
                   Texas for client meetings 4/16-19/2024; 400 miles x .67/mile= $
                   268.00, lodging $ 1502.21 and meal $ 36.35

05/24/2024         McClellan, Deric reimbursement of travel expenses to Houston                   383.22
                   Texas regarding Alex Jones Interlocutory Appeal - Motion Hearing
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Client #          50134                                                                  Invoice # 777725
Matter #          00802                                                               Responsible Attorney
                                                                                          Vickie L. Driver
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                  5/30-31/2024; lodging $ 373.22 and tolls $ 10.00

05/29/2024        Driver , Vickie reimbursement of travel expenses to Houston Texas             1,366.34
                  for Client Conferences 4/22-24/2024; transportation $ 521.79,
                  lodging $ 809.60 and meal $34.95

       Subtotal of Expenses                                                             $9,178.73
 Online Research                                                                        $48.30

        Subtotal of Costs                                                                $48.30
 Total Expenses and Costs for this Invoice                                               $9,227.03


                               SUMMARY OF DISBURSEMENTS
                          Task                                          Task
                          Code             Amount                    Description
                          E106                48.30     On-line research
                          E110             4,450.73     Out-of-town travel
                          E118             4,728.00     Litigation support vendors
                          Total           $9,227.03



Total For This Invoice                                                                        $221,789.03
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Matter #          00802                                            Responsible Attorney
                                                                       Vickie L. Driver
Post - petition

                              SUMMARY OF FEES
                                    Hours       Hourly                Bill
                   Name            Worked         Rate             Amount
      L. Dauphin                      0.20      195.00               39.00
      D. McClellan                  134.70      335.00           45,124.50
      A. Sokolosky                    4.70      330.00            1,551.00
      V. Driver                      51.90      875.00           45,412.50
      C. Stephenson                 108.40      845.00           91,598.00
      E. Weaver                      13.60      295.00            4,012.00
      J. Jones                       38.30      265.00           10,149.50
      R. Yates                       13.70      365.00            5,000.50
      J. Davis                       11.00      505.00            5,555.00
      M. Foster                      20.60      200.00            4,120.00
      Total                         397.10                     $212,562.00
